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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

KRISTOPHER R. OLSON,                         :
CHRISTOPHER LOPEZ, WARREN                    :
BARBER, CHRISTOPHER CLIFFORD,                :
AND ERIK LIPTAK, individually and on         :
behalf of all others similarly situated,     :
                                             :
                              Plaintiffs,    :
                                             :      Case No. 1:20-cv-00632-JSR
v.                                           :
                                             :
MAJOR LEAGUE BASEBALL; MLB                   :
ADVANCED MEDIA, LP; HOUSTON                  :
ASTROS, LLC; and BOSTON RED SOX              :
BASEBALL CLUB, LP,                           :
                                             :
                              Defendants.    :      MAY 5, 2020


                PLAINTIFFS’ NOTICE OF MOTION TO ALTER, AMEND
               OR VACATE THE JUDGMENT AND FOR LEAVE TO AMEND

       PLEASE TAKE NOTICE that upon the accompanying Memorandum in Support of

Motion to Alter, Amend or Vacate the Judgment and for Leave to Amend and the attached

Proposed Second Amended Complaint (Exhibit A), and the attached documents referenced in the

Memorandum (Exhibit B), plaintiffs will move this Court, before the Honorable Jed S. Rakoff, at

the Daniel Patrick Moynihan Courthouse, Courtroom 14B, 500 Pearl Street, New York, New

York, on May 22, 2020 at 9 a.m., or at such other date and time determined by the Court, for an

order, pursuant to Fed. R. Civ. P. 59(e) and 60(b), altering, amending or vacating the Judgment

of this Court, entered April 7, 2020 (ECF 56), insofar as it dismissed plaintiffs’ Amended Class

Action Complaint (ECF 20) with prejudice, and granting plaintiffs leave to file their Proposed

Amended Complaint, pursuant to Fed. R. Civ. P. 15(a)(2).
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       As directed by the Court in a May 1, 2020 teleconference with the parties, defendants’

opposition briefs on this Motion will be due May 15, 2020, and plaintiffs’ reply will be due May

22, 2020.

DATED: May 5, 2020                          SILVER GOLUB & TEITELL LLP


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